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                                                                                     October 21, 2024
Hon. Katherine Polk Failla, U.S.D.J.
United States District Court for the Southern District of New York
40 Foley Square, Room 2103

                                                                MEMO ENDORSED
New York, NY 10007

By Electronic Filing.

       Re:     Case No. 23-cv-09702-KPF, Rijper-Greenidge v. McGuire, et al.

Dear Judge Failla:

        My firm, with co-counsel from Gideon Orion Oliver (ECF No. 8), is currently counsel of
record for Plaintiff in the above-captioned matter. I write to ask leave for my firm and Mr. Oliver to
withdraw as counsel.

       Per Local Rule 1.4, this motion is being served on Plaintiff directly by certified mail, along
with a copy by email. If the Court would like a more detailed explanation of the reasons for our
withdrawal, I ask leave to submit those reasons under seal (with copy to the client), so that they are
not shared with an adverse party.

        As this was initially a case with a “represented plaintiff against the City of New York [] and[]
its employees alleging the use of excessive force, false arrest, or malicious prosecution by employees
of the NYPD in violation of 42 U.S.C. § 1983,” it was made part of the Local Rule 83.10 Plan. Prior
to this motion, the parties were attempting to schedule the Local Rule 83.10 mediation. However,
since Plaintiff may or may not continued to be “represented,” I ask that the Court stay those
requirements until Plaintiff decides whether he will be proceeding pro se or with other counsel.

       As always, we thank the Court for its time and consideration.

                                                       Respectfully submitted,
                                                           /s/
                                                       ______________________
                                                       J. Remy Green
                                                           Honorific/Pronouns: Mx., they/their/them
                                                       COHEN&GREEN P.L.L.C.
                                                       Attorneys for Plaintiffs
                                                       1639 Centre St., Suite 216
                                                       Ridgewood, New York 11385
cc:
All relevant parties by ECF.
Mr. Rijper Greenidge (by email and certified mail).
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Upon review of this application and Plaintiff's ex parte
submission, the Court GRANTS the application. Counsel are directed
to transmit this endorsement to Mr. Rijper-Greenidge. The Court
notes that counsel have waived any charging or retaining lien. And
the Court extends its best wishes to counsel in their future
endeavors.

Mr. Rijper-Greenidge shall notify the Court of his decision whether
to proceed pro se, or to find new counsel, on or before December 9,
2024. Likewise, and in accordance with the Court's Order staying
the mediation requirement (Dkt. #21), the stay will remain in
effect until December 9, 2024.

The Clerk of Court is directed to terminate Gideon Oliver and J.
Remy Green from this action.

Dated:       October 25, 2024             SO ORDERED.
             New York, New York




                                          HON. KATHERINE POLK FAILLA
                                          UNITED STATES DISTRICT JUDGE
